     Case 1:20-cv-03010-APM            Document 1107-1        Filed 12/20/24      Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA, et al.,

                   Plaintiff,

            v.                                          Case No. 1:20-cv-03010-APM

  GOOGLE LLC,

                   Defendant.


                     DECLARATION FOR PRO HAC VICE ADMISSION

       In accordance with LCvR 83.2(c)(2) and LCrR 44.1(c)(2), I hereby declare that the answers

to the following questions are complete, true, and correct:

       1.        Full Name:

                 Aaron T. Chiu

       2.        State bar membership number:

                 California 287788

       3.        Business address, telephone, and fax numbers:

                 Latham & Watkins LLP
                 505 Montgomery Street, Suite 2000
                 San Francisco, CA 94111
                 Tel: (415) 391-0600
                 Fax: (415) 395-8095

       4.        List all state and federal courts or bar associations in which you are a member “in

good standing” to practice law:

                 California, Supreme Court of the United States, United States Court of Appeals for
                 the Second Circuit, United States Court of Appeals for the Ninth Circuit, United
                 States District Court for the Northern District of California, and United States
                 District Court for the District of Colorado.
     Case 1:20-cv-03010-APM           Document 1107-1          Filed 12/20/24       Page 2 of 4




       5.      Have you been denied admission, disbarred, suspended from practice, reprimanded,

denied “in good standing” status, or otherwise disciplined by any court, bar association, grievance

committee or administrative body?

               ☐ Yes ☒ No

       6.      Have any proceedings which could lead to any such disciplinary action been

instituted against you in any such bodies?

               ☐ Yes ☒ No

       7.      List the number of times you have been admitted pro hac vice into this court within

the last two years:

               None.

       8.      Although Latham & Watkins LLP does have an office within the District of

Columbia, it is not my principal office and I do not normally practice in or from the District.

       9.      Are you a member of the DC Bar?

               ☐ Yes ☒ No

       10.     Do you have a pending application for admission into the U.S. District Court for

the District of Columbia?

               ☐ Yes ☒ No

        In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to
appear as sole or lead counsel in a contested evidentiary hearing or trial on the merits further
certifies that he/she:

                            (CHECK ALL ITEMS THAT APPLY)

   1. ☐        has previously acted as sole or lead counsel in a federal district court or the Superior
               Court of the District of Columbia or a state trial court of general jurisdiction in a
               contested jury or bench trial or other contested evidentiary hearing in which
               testimony was taken in open court and an order or other appealable judgment was
               entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR


                                                  2
Case 1:20-cv-03010-APM   Document 1107-1   Filed 12/20/24   Page 3 of 4
Case 1:20-cv-03010-APM   Document 1107-1   Filed 12/20/24   Page 4 of 4
